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   EXHIBIT 8
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         .~...   8 0 1z. Burg er & Co
         Q;J,., June   16, 2020 · 0

         He-ll o to all ou 8oz ·arm .a , frie ,ds.
                                          · cro le11 you know o w happy we are t o b e
         back op en an how muc we have apprecia ed all o · yourkin d w,ords.
         a· supp o,1 through these cr,affengi g tim<:S. I~ is bitterswee because
         we k -O \' other rest aur.ants are no, ,as fortu ate an will be clos in g
         t: eir doors pem ane tly. Tot ose. sm a I business owr ers we se d
         co dole ces, love, a d be-st wishes to eac of you.
                                    ake diffic It dec·sions on a da ily basis and "he
         Bo is , o dtffer,en•. We a[s.o wa ted -o post this "l: o le't you k o w ha ,
         •~ en though we ,are allo wed to hav,e c s'to mers physica lly b ack i o r
          resta r·a.r:t, we have dec i ed to ay i the "t o- o/ de lfv ery· odel fC r
         t e ' ore:seea b,le ·utu e. There are ma ~' reason s. fo r · is ,decision, b
         t e ma[n reais.ons are he heal"l:h an • we!1-b ein o' our sta ·,
         co mmunity, and o rs a.II bus[ness.
                                                                   e "hing we do know
         is the spr,e,a is npredic'tab le. We m u! b e i , l?h ase 3 and "l:hen back
         to    as.e    ue to a spike in u bers. - , is wou l mean lay·i g
                                           ,in g t eirh ea, h at risk. Th1: refore, we
                 ,e-ci         . ·he side ot caut ion. 'N'e l1eair your ·r stratio

               sta               · ta~e t ,o~ghtfu l s eps ·on,vard. We want to
         rem ai c                   o ly do hat •11 -~h your :s upport. P ease confou,e
         to be patie               a,s we a· ·g.ate decisio makir g ir: :hese
          nprecede
         We .s in ce r,ely t ank yo• ·or y,our rn pport an   atrona,g,e,
